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                                                 THE CITY OF NEW YORK                                       CONNER QUINN
MURIEL GOODE-TRUFANT                            LAW DEPARTMENT                                   Assistant Corporation Counsel
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                                                                         November 4, 2024

        BY ECF
        Honorable Nina R. Morrison
        United States District Judge
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 11201

                             Re: Paul McCartney et al. v. City of New York et al.
                                 Docket No. 23-CV-8232 (NRM) (JAM)

        Dear Judge Morrison:

                       I am an Assistant Corporation Counsel in the office of Muriel Goode-Trufant,
        Acting Corporation Counsel of the City of New York, attorney for Defendants in the above-
        referenced action. Pursuant to Your Honor’s Individual Practice Rule 5.2.3.1, I write to inform the
        Court that Defendants’ motion to dismiss the Complaint pursuant to Rule 12(b) of the Federal
        Rules of Civil Procedure is fully briefed. The following moving papers have been electronically
        filed:

              •   Defendant’s Notice of Motion to Dismiss the Complaint, Memorandum of Law in Support,
                  and Declaration of Traci Krasne and Exhibits A through F as ECF Dkt. Nos. 22, 22-1, 22-
                  2, 22-3, 22-4, 22-5, 22-6, 22-7 and 22-8, respectively.

              •   Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion was filed as ECF
                  Dkt. No. 22-9.

              •   Defendant’s Reply Memorandum of Law in Further Support of its Motion to Dismiss was
                  filed as ECF Dkt. No. 22-10.

                                                                         Respectfully submitted,
                                                                         /s/ Conner Quinn
                                                                         Conner Quinn
                                                                         Assistant Corporation Counsel

        cc:       Chad LaVeglia (via ECF)
                  Attorney for Plaintiffs
                  350 Motor Parkway, Suite #308
                  Hauppauge, NY 11788
